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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                   WEST PALM BEACH DIVISION

                                 CASE NO. 23-80-1010-CR-CANNON


     UNITED STATES OF AMERICA,

                            v.

     DONALD J. TRUMP,
     WALTINE NAUTA, and
     CARLOS DE OLIVIERA,

                            Defendants.
                                                        /

                                       [PROPOSED] ORDER

           Upon consideration of the Defendants’ Motion for Leave to Disclose Discovery, it is this

   ___ day of ____________, 2024, hereby:

           ORDERED that the Motion is GRANTED; and it is further

           ORDERED that the Defendants shall comply with the redaction instructions in the

   Court’s February 6, 2024, Order (ECF No. 283 pp. 5-8); and it is further

           ORDERED that on or before February 16, 2024, the Defendants shall file under seal a

   proposed public version of their Supplement to their Reply in Support of their Motion to Compel

   (Feb. 9, 2024) (ECF No. 272); and it is further

           ORDERED that upon finding that the redactions are consistent with the Court’s

   February 6, 2024, Order and no greater than necessary, the Court shall direct the Clerk to unseal

   that filing.
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           DONE AND ORDERED in Chambers at Fort Pierce, Florida, this 15th day February

   2024.

    .
                                                  The Honorable Aileen M. Cannon
                                                  United States District Court Judge
